      Case 4:17-cv-00674-O Document 51 Filed 11/19/18               Page 1 of 1 PageID 695



                              Welmaker Law PLLC
                                  7310 Manchaca Road, #150728
                                       Austin, Texas 78715
                                     Phone: (512) 799-2048
                                       Fax: (512) 253-2969
                                 Email: doug@welmakerlaw.com

                                        November 19, 2018

Hon. Reed O’Connor
United States District Court
Northern District of Texas-Fort Worth Division
501 West 10th Street, Room 201
Fort Worth, Texas 76102

         Re:   Chimeng Lo v. XPO Logistics, Inc. et al, In the United States District Court
               for the Northern District of Texas, Fort Worth Division; Civil Action No.
               4:17-cv-00674-O

Judge O’Connor:

         Counsel for Plaintiff writes this letter to the Court as a number of the deadlines set forth
in this Court’s Order of October 11, 2017 (Dkt. 16) will need to be revised in light of the current
posture of this matter. Counsel for Plaintiff proposes that once the issues relating to the scope of
the class have been resolved, that the Parties confer with one another and prepare a revised draft
scheduling order for this Court’s consideration, in accordance with paragraph 12 of Dkt. 16.
Counsel for Defendants does not object to this request.

                                              Sincerely,




                                              Douglas B. Welmaker


cc:      Ryan E. Mick Via email: mick.ryan@dorsey.com and ECF
         J. Brian Vanderwoude Via email: vanderwoude.brian@dorsey.com and ECF
         Dorsey & Whitney LLP
         Counsel for Defendants
